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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


    IN RE EQUIFAX, INC. CUSTOMER                  MDL DOCKET NO. 2800
    DATA SECURITY BREACH                          1:17-md-2800-TWT
    LITIGATION
                                                  CONSUMER CASES
    This filing relates to:

    Christopher v. Equifax Information
    Servs. LLC, Case No. 5:19-cv-00806-G

    DEFENDANT EQUIFAX INFORMATION SERVICES LLC’S RESPONSE
       IN OPPOSITION TO MOTION FOR JUDGMENT BY DEFAULT

          Defendant Equifax Information Services LLC1 (“Equifax”), by and through

its undersigned counsel, respectfully requests that the Court deny Plaintiff’s

November 14, 2019 Motion for Judgment by Default (“Motion”) pursuant to Federal

Rule of Civil Procedure, Rule 55(c). For the reasons that follow, Plaintiff’s Motion

should be denied.

                 INTRODUCTION AND FACTUAL BACKGROUND

          Plaintiff filed his Complaint on September 3, 2019 in the United States

District Court for the Western District of Oklahoma, alleging various claims related

to the data security incident announced by Equifax Inc. in September 2017. See



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          Equifax Inc. is the proper defendant.
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generally W.D. Okla. Case No.: 5:19-CV-00806-G, Dkt. 1.                  A hand-written

Summons issued on October 1, 2019. Id. Dkt. 7.

      On October 5, 2019, Plaintiff’s Complaint and Summons were delivered to

the P.O. Box identified by Plaintiff on the Summons: Equifax Information Services

LLC, PO Box 740241, Atlanta, Georgia 30374. Declaration of Jessica Spurlock in

Support of Equifax’s Opposition to Motion for Judgment by Default (“Spurlock

Decl.”), ¶ 5; see also W.D. Okla. Case No.: 5:19-CV-00806-G, Dkt. 7. That P.O.

Box, however, is associated with Equifax’s Disclosure Department, and is used to

receive correspondence related to credit files and related disputes lodged by

consumers. Spurlock Decl., ¶ 6; see also Exhibit A, “How Do I Get My Free Credit

Report?”     (https://www.equifax.com/personal/education/credit/report/how-to-get-

your-free-credit-report/) (identifying this P.O. Box in connection with requests for

free credit reports). It is not used for litigation purposes, and is not monitored by an

Equifax officer, managing or general agent, or any other agent authorized to receive

service of process. Spurlock Decl., ¶ 6. Indeed, the Georgia Secretary of State’s

business records identify a different address for Equifax Information Services LLC’s

registered       agent       for       service       of       process.              See

https://ecorp.sos.ga.gov/BusinessSearch/BusinessInformation?businessId=82084&




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businessType=Domestic%20Limited%20Liability%20Company&fromSearch=Tru

e.

      Plaintiff filed his Motion on November 14, 2019, mailing a copy to the same

incorrect address to which he sent the Summons and Complaint. W.D. Okla. Case

No.: 5:19-CV-00806-G, Dkt. 8. Because the Complaint was not properly served,

Equifax did not learn of it until after Plaintiff’s Motion had been filed. Spurlock

Decl., ¶ 9. Equifax promptly investigated the method of service for this lawsuit and

engaged outside counsel to oppose Plaintiff’s Motion for Judgment by Default. Id.

¶ 10. On December 6, 2019, Equifax moved for an extension of time in which to

respond to Plaintiff’s Complaint and this Motion. W.D. Okla. Case No.: 5:19-CV-

00806-G, Dkt. 11. This Court granted Equifax’s request on December 16, 2019,

extending Equifax’s time to respond to December 20, 2019. Id. Dkt. 12.

      On December 9, 2019, Equifax filed a Notice of Potential Tag-Along Action

with the Judicial Panel on Multidistrict Litigation (“JPML”) citing this action as

related to multidistrict litigation proceeding captioned, In re: Equifax Inc. Customer

Data Security Breach Litigation, MDL No. 2800. MDL No. 2800, Dkt. 1169. On

December 11, 2019, the JPML entered Conditional Transfer Order (CTO-57),

indicating its initial view that this action is sufficiently related to the MDL

proceeding. Id. Dkt. 1174. In the absence of any objection to the transfer, on


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December 19, 2019, the JPML lifted the stay of Conditional Transfer Order (CTO-

57), transferring this action to the Northern District of Georgia for inclusion in the

MDL proceeding. Id. Dkt. 1180.

                               LEGAL STANDARD

      “Default judgments are a harsh sanction.” In re Rains, 946 F.2d 731, 732

(10th Cir. 1991) (citing M.E.N. Co. v. Control Fluidics, Inc., 834 F.2d 869, 872 (10th

Cir. 1987)); see also Mitchell v. Brown & Williamson Tobacco Corp., 294 F.3d

1309, 1316–17 (11th Cir. 2002) (quoting Wahl v. McIver, 773 F.2d 1169, 1174 (11th

Cir. 1985)) (noting in its analysis of Rule 55 that “[default] is too harsh except in

extreme circumstances”). Indeed, “‘strong policies favor resolution of disputes on

their merits[.]’” In re Rains, 946 F.2d at 732–33 (alteration removed & alteration

added) (citation omitted). Moreover, it is settled law that “[b]efore a federal court

may exercise personal jurisdiction over a defendant, the procedural requirement of

service of summons must be satisfied.” Omni Capital Int’l, Ltd. v. Rudolf Wolff &

Co., Ltd., 484 U.S. 97, 104 (1987); Thorpe v. Dumas, No. 19-10089, 2019 WL

4447248, at *1-2 (11th Cir. Sept. 17, 2019) (quoting Rule 4). For this reason, this

District of Oklahoma has made clear that “if a plaintiff did not properly serve a

defendant, a default judgment entered against that defendant is void.” Black v.

Reliable Reports of Tex., Inc., No. CIV-05-1427-M, 2007 WL 2746926, at *2 (W.D.


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Okla. Sept. 20, 2007); see also Johnson v. Bank of N.Y. Mellon, No. 1:17-CV-04499-

ELR-AJB, 2018 WL 4850120, at *5 (N.D. Ga. July 11, 2018) (quoting In re

Worldwide Web Sys., Inc., 328 F.3d 1291, 1299 (11th Cir. 2003)) (“Generally, where

service of process is insufficient, the court has no power to render judgment and the

judgment is void.”), adopting R. & R., 2018 WL 4850230 (N.D. Ga. Aug. 3, 2018).

         “Service of process in a manner consistent with Rule 4 of the Federal Rules

of Civil Procedure provides the mechanism by which a court ‘having venue and

jurisdiction over the subject matter of an action asserts jurisdiction over the person

of the party served.’” Habyawmana v. Kagame, No. CIV-10-437-W, 2011 WL

13113322, at *4 (W.D. Okla. June 23, 2011) (quoting Okla. Radio Assocs. v.

F.D.I.C., 969 F.2d 940, 943 (10th Cir. 1992)). Rule 4 outlines the procedures by

which service on a corporation may be effectuated. If not personally serving an

individual, a plaintiff must “deliver[] a copy of the summons and of the complaint

to an officer, a managing or general agent, or any other agent authorized by

appointment or by law to receive service of process.” Fed. R. Civ. P. 4(h)(1)(B).

The District of Oklahoma has noted that “a corporation’s ‘registered office’ is not

the same as a corporation’s registered agent’s office.” Black, 2007 WL 2746926,

at *3.




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                                     ARGUMENT

   1. A Default Judgment Should Not Be Granted Because Equifax Was Not
      Properly Served Under the Federal Rules of Civil Procedure.

       It is well settled that a federal court may not exercise personal jurisdiction

over a defendant absent proper service in accordance with the Federal Rules of Civil

Procedure. See Omni Capital Int’l, Ltd, 484 U.S. at 104. To that point, courts in the

Tenth and Eleventh Circuits, including the Western District of Oklahoma where this

lawsuit originated and the Northern District of Georgia where service was

purportedly effectuated, have made clear that a default entered against a defendant

who was not properly served is improper. See Black, 2007 WL 2746926, at *3;

Johnson, 2018 WL 4850120, at *5; see also Martinez v. CitiMortgage, Inc., 347 F.

Supp. 3d 677, 692 (D.N.M. 2018).

       Here, it is clear that Plaintiff did not serve the Summons and Complaint in a

manner consistent with Rule 4, resulting in Equifax not becoming aware of this

lawsuit until (a) after its time to respond had expired, and (b) after Plaintiff filed this

Motion. Plaintiff mailed the Summons and Complaint to a P.O. Box used to receive

correspondence regarding credit files and related disputes lodged by consumers.

Spurlock Decl., ¶ 6. Notably, upon receiving Plaintiff’s mailing at the incorrect P.O.

Box, Equifax’s Dispute Department sent Plaintiff a form letter on October 17, 2019

requesting additional identification information after they were unable to locate

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Plaintiff’s file. Spurlock Decl., ¶ 8. This form of response is routinely associated

with the type of credit disputes and credit report requests for which the P.O. Box is

maintained. Id.

      In short, the Complaint was not delivered to “an officer, a managing or general

agent, or any other agent authorized by appointment or by law to receive service of

process.” Fed. R. Civ. P. 4(h)(1)(B); Spurlock Decl., ¶ 6; see also Martinez, 347 F.

Supp. 3d at 692 (internal citations omitted) (“Because [plaintiff] mailed a summons

and complaint to a general address, where an authorized agent did not sign the

envelope, he did not satisfy [R]ule 4 of the Federal Rules of Civil Procedure . . . .

No officer, general or managing agent, or authorized agent accepted the package at

the Ohio P.O. Box because [defendant] maintains that address only to collect

mortgage payments.”). Because Equifax was not properly served, this Court should

not—indeed, cannot—grant Plaintiff’s Motion on the basis of that improper service.

   2. Equifax Was Not Properly Served Under Oklahoma or Georgia Law.

      Rule 4(h)(1)(A) also indicates that a Plaintiff may serve a corporation “in the

manner prescribed by Rule 4(e)(1) for serving an individual,” which provides for

service “following state law for serving a summons in an action brought in courts of

general jurisdiction in the state where the district court is located or where service is




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made.” Fed. R. Civ. P. 4(e)(1). Here too, Plaintiff’s method of service fails to satisfy

Oklahoma or Georgia law.

      Oklahoma law makes clear that “[s]ervice by mail shall not be the basis for

the entry of a default or a judgment by default unless the record contains a return

receipt showing acceptance by the defendant or a returned envelope showing refusal

of the process by the defendant.” Okla. Stat. tit. 12 § 2004(C)(2)(c). It continues:

“In the case of [a corporation], acceptance or refusal by any officer or by any

employee of the registered office or principal place of business who is authorized to

or who regularly receives certified mail shall constitute acceptance or refusal by the

party addressed.” Id.; see also Black, 2007 WL 2746926, at *3. As a threshold

matter, Plaintiff’s Motion does not contain a return receipt showing acceptance of

the Summons. Instead, it merely contains the certified mail tracking receipt showing

that Plaintiff mailed the Summons and Complaint to the wrong P.O. Box. See W.D.

Okla. Case No.: 5:19-CV-00806-G, Dkt. 8, 8-1. Moreover, Plaintiff cannot satisfy

the second part of the rule. No Equifax “officer” accepted Plaintiff’s Summons

when it was mailed to the Disclosure Department’s P.O. Box, nor did any “employee

of the registered office or principal place of business” authorized to receive certified

mail accept the Summons. The P.O. Box to which Plaintiff mailed the Summons

and Complaint is not Equifax’s principal place of business, nor is it a “registered


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office” as contemplated by the statute. See Spurlock Decl., ¶ 6; Exhibit A; see also

Black, 2007 WL 2746926, at *3 (“[T]he Court finds that a corporation’s ‘registered

office’ is not the same as a corporation’s registered agent’s office. . . . The term

‘registered office,’ on the other hand, plainly refers to the corporation’s address that

is registered with the applicable governmental entity.”).

      Plaintiff’s method of service was also ineffective under Georgia law, which

requires service of the summons and complaint “to the president or other officer of

such corporation or foreign corporation, a managing agent thereof, or a registered

agent thereof.” O.C.G.A. § 9-11-4(e)(1)(A) (2013). The Code defines “managing

agent” as “a person employed by a corporation or a foreign corporation who is at an

office or facility in [Georgia] and who has managerial or supervisory authority for

such corporation or foreign corporation.” O.C.G.A. § 9-11-4(e)(1)(B). For the

reasons explained above, the credit disputes/credit report requests P.O. Box does not

suffice. Spurlock Decl., ¶¶ 5-6.




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                                 CONCLUSION

      Plaintiff’s Motion for Judgment by Default against Equifax should be denied,

because Equifax was not properly served with the Complaint in accordance with

Rule 4 of the Federal Rules of Civil Procedure.

      Respectfully submitted this 20th day of December, 2019.

                                          /s/ Robert D. Griest
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                                          LLC




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                     CERTIFICATE OF COMPLIANCE

      Pursuant to L.R. 7.1D, the undersigned certifies that the foregoing complies

with the font and point selections permitted by L.R. 5.1B. This Response in

Opposition was prepared on a computer using the Times New Roman font (14 point).

      Respectfully submitted this 20th day of December, 2019.



                                     /s/ Robert D. Griest
                                     KING & SPALDING LLP
                                     Robert D. Griest
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               IN THE UNITED STATES DISTRICT COURT
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                                               CONSUMER CASES
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                          CERTIFICATE OF SERVICE

     I hereby certify that on December 20, 2019, I electronically filed the foregoing
document with the Clerk of the Court using the CM/ECF system, which will
automatically serve notice of electronic filing to all counsel of record.

I also hereby certify that I have mailed the DEFENDANT EQUIFAX
INFORMATION SERVICES LLC’S RESPONSE IN OPPOSITION TO
MOTION FOR JUDGMENT BY DEFAULT by United States Mail, postage
prepaid, and properly addressed as indicated below to the following non-CM/ECF
participants:

             Michael Christopher
             316 W. 12th St.
             Sulphur, OK 73086

             Pro se Plaintiff


                                             /s/ Robert D. Griest
                                             Robert D. Griest
